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                                     UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF MASSACHUSETTS
                                            (EASTERN DIVISION)

In re:
                                                                  Chapter 11
NESV ICE, LLC, et al., 1                                          Case No. 21-11226-CJP
                                                                  (Jointly Administered)
                      Debtors.

       OBJECTION OF CONSTRUCTION SOURCE MANAGEMENT, LLC
TO CONFIRMATION OF SECOND AMENDED JOINT PLAN OF REORGANIZATION
 OF NESV ICE, LLC, NESV SWIM, LLC, NESV TENNIS, LLC, NESV LAND EAST,
   LLC, NESV FIELD, LLC, NESV HOTEL, LLC, NESV LAND, LLC, ASHCROFT
                SULLIVAN SPORTS VILLAGE LENDER, LLC,
                         AND SHUBH PATEL, LLC

           To the Honorable Christopher J. Panos, Chief United States Bankruptcy Judge:

           NOW COMES Construction Source Management, LLC (“CSM”), a secured creditor of

the Debtor, NESV Ice, LLC (“Ice”), and hereby objects (the “Objection”) to confirmation of the

Second Amended Joint Plan of Reorganization of NESV Ice, LLC, NESV Swim, LLC, NESV

Tennis, LLC, NESV Land East, LLC, NESV Field, LLC, NESV Hotel, LLC, NESV Land, LLC,

Ashcroft Sullivan Sports Village Lender, LLC, and Shubh Patel, LLC dated April 18, 2022 [Dkt.

No. 345] (the “Plan”). 2

I.         BACKGROUND.

           A.         Relevant Background.

           1.         CSM was hired by Ice to serve as general contractor for the overall construction of

the ice rink. The contemplated job was immensely challenging. The site was almost entirely

ledge with steep elevation changes.


1
     The debtors in these Chapter 11 cases, along with the last four digits of each debtor’s tax identification number,
     are as follows: NESV Ice, LLC (1262), NESV Swim, LLC (5919), NESV Tennis, LLC (6937), NESV Land
     East, LLC (4138), NESV Field, LLC (5539), NESV Hotel, LLC (9151), and NESV Land, LLC (2353).
2
     Capitalized terms used but not defined in this Objection shall have the meanings ascribed to them in the Plan.


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           2.         CSM’s and Ice’s contract was based upon architectural drawings for the site work

which were extremely rudimentary. In fact, the drawings were only 3% complete. Accordingly,

at the time the contract was entered into the actual scope of the work was largely unknown, and

because of the rudimentary nature of the drawings the parties understood that changes to the

contract were inevitable.

           3.         Notwithstanding the difficulties of the project, in light of Ice’s desire to have the

project completed early, CSM finished the building work in just nine (9) months, ahead of

schedule. As expected there were many changes and redesigns to the contract documented and

accepted throughout the project. Ice promised CSM it would take care of the outstanding Change

Orders at the conclusion of the project, but it failed to do so.

           4.         CSM completed all of the work requested of it. In addition, CSM paid all

subcontractors in full as evidenced by there being no other creditors of Ice asserting mechanic’s

liens on the project. Now Ice refuses to pay CSM for the work it completed.

           5.         CSM asserts a perfected mechanic’s lien on Ice’s real property under M.G.L. c.

254, §§ 2, 5, 8, and 11. Specifically, CSM recorded a Notice of Contract with the Bristol County

Registry of Deeds against Ice on November 23, 2016, recorded a Statement of Account on

November 23, 2016 and January 17, 2017, and commenced a civil action by filing a complaint in

the Bristol Superior Court on January 25, 2017.

           6.         CSM’s mechanic’s lien was perfected after the recording of a mortgage now held

by SHS ACK, LLC (“SHS”), and before the filing of a mortgage in favor of Ashcroft Sullivan

Sports Village Lender, LLC (“ASVL”). 3




3
     CSM does not concede the validity, priority, or amount of the claims and security interests asserted by SHS and
     ASVL, and specifically reserves all of its rights and remedies with respect thereto.

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           7.         CSM’s proof of claim filed in the Debtors’ cases evidences a secured claim

against Ice in an amount in excess of $14 million. See Claim No. 5-1.

           B.         Summary of Plan.

           8.         The Plan Proponents consist of the Debtors, ASVL, and Shubh Patel, LLC (“SP”).

           9.         The Plan provides for the restructuring of the Debtors’ debts. The Plan will be

funded by: (a) a loan of approximately $12 million by SP to the Reorganized Debtors (i.e., the

Plan Loan); (b) an additional contribution by SP of approximately $1.225 million; and (c) the

Reorganized Debtors’ continued operations. In addition, under the Plan, ASVL will waive its

liens on the Debtors’ assets and convert its claims into equity interests in a new holding company

that will own the Reorganized Debtors. The DIP Loan made by SP to the Debtors will also be

converted to equity interests in the new holding company.

           C.         Estimation of CSM’s Claims.

           10.        The Plan provides for this Court to estimate CSM’s claims for the purpose of

deciding whether or not to confirm the Plan. Confirmation of the Plan requires the estimation of

CSM’s claims because the amount of CSM’s “allowed claims” will be determined after the

hearing on confirmation of the Plan, in the state court litigation between Ice and CSM (among

others).

           11.          In the Plan Proponents’ Motion to Estimate Construction Source Management,

LLC’s Claim [Dkt. No. 387] (the “Claims Estimation Motion”), the Plan Proponents argue that

CSM’s claims are overstated and subject to setoff and further reduction and should be estimated

at $157,850.

           12.        CSM filed an Objection to the Claims Estimation Motion [Dkt. No. 408] (the

“Claims Estimation Objection”). In the Claims Estimation Objection, CSM disputes the Plan



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Proponents’ allegations seeking to reduce or setoff CSM’s claims and requests that the Court

estimate CSM’s claims for confirmation purposes in the amount of not less than $10,806,276.53,

comprised of a mechanic’s lien claim of $5,825,486 and simple interest on its claim of

$4,980,790.53.

           13.        In addition, the retainage portion of CSM’s mechanic’s lien claim is not less than

$376,505. CSM believes that it preserved the priority of its retainage claim in accordance with

M.G.L. c. 254, §§ 7(b) and 32. Accordingly, CSM’s retainage claim is entitled to priority senior

to SHS’ secured claims against the assets of Ice.

           D.         Plan Treatment of CSM’s Claims.

           14.        The Plan separately classifies CSM’s secured claims against Ice in Class 3.

           15.        CSM is impaired under the Plan.

           16.        Specifically, the Plan proposes the following treatment of CSM’s secured claims:

                      (c) Claim Treatment. In full and final satisfaction, settlement, discharge and
                      release of the Allowed CSM Secured Claim against Ice, the holder of the Allowed
                      CSM Secured Claim shall receive payment in full of such Claim from the
                      Reorganized Debtors, at the sole election of the Proponents, by one of the
                      following methods:

                                 (i)         (A) From the Effective Date until the determination of the Allowed
                                             CSM Secured Claim, monthly payments of interest only on an
                                             amount equal to the Estimated CSM Secured Claim, calculated
                                             based on the Plan Interest Rate, with such interest only payments
                                             commencing on the first day of the first full month following the
                                             Effective Date,

                                             (B) Through monthly payments, commencing on the first day of
                                             the first full month following the determination of the Allowed
                                             CSM Secured Claim, consisting of (I) principal computed on the
                                             basis of an amortization schedule of twenty (20) years from such
                                             determination, and (II) interest calculated based on the Plan Interest
                                             Rate, or such other rate determined by Final Order, with the unpaid
                                             balance of such Claim due on the tenth (10th) anniversary of the
                                             Effective Date, and



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                                             (C) Through the granting of a Lien, junior to SHS’ Liens and the
                                             Liens securing the Plan Loan, on the real property owned by Swim,
                                             Tennis, Land East, Field, Hotel and Land;

                                 (ii)        Within ten (10) Business Days of the determination of the Allowed
                                             CSM Secured Claim, in cash equal to the amount of the Allowed
                                             CSM Secured Claim, minus all amounts paid to CSM between the
                                             Petition Date and the date the Allowed CSM Secured Claim is
                                             determined; 4 or

                                 (iii)       By such treatment as is agreed upon in writing between the
                                             Proponents and the holder of the Allowed CSM Secured Claim.

Plan, Art. 4.3(c).

           17.        The Plan further provides that any deficiency claim held by CSM will be treated

as a Class 6 general unsecured claim. Plan, Art. 4.3(e).

           18.        CSM has voted to reject the Plan and therefore Class 3 is a non-accepting

impaired class. 5

           19.        The Court has scheduled hearings to consider confirmation of the Plan (and

related valuation and claims estimation issues) for July 25, July 26, July 27, and July 28, 2022.

II.        OBJECTIONS TO CONFIRMATION OF THE PLAN.

           20.        As discussed below, the Plan is fundamentally flawed and unconfirmable. Among

other flaws, the Plan cannot be confirmed because (a) even applying a “per plan” approach, no

impaired, non-insider class will accept the Plan, (b) the Plan discriminates unfairly between CSM

and other secured creditors; (c) the Plan cannot be found to be in the best interests of creditors;

(d) the Plan is not fair and equitable with respect to CSM; and (e) the Plan is not feasible.




4
      As stated in Article 4.3(c)(i)(B), the Plan provides that CSM’s “Allowed Secured Claim” under the Plan will
      include the principal amount of CSM’s mechanic’s lien claim plus interest. Accordingly, any interest payments
      made to CSM post-confirmation should not be “credited” against the principal amount of CSM’s mechanic’s
      lien claim.

5
      CSM also submitted a Class 6 ballot rejecting the Plan related to any unsecured claims.

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           A.         The Plan Does Not Satisfy the Requirements of Bankruptcy Code
                      § 1129(a)(10).

           21.        The Plan does not satisfy the requirements of Bankruptcy Code § 1129(a)(10).

Bankruptcy Code § 1129(a)(10) provides that “[i]f a class of claims is impaired under the plan, at

least one class of claims that is impaired under the plan has accepted the plan, determined

without including any acceptance of the plan by any insider.” 11 U.S.C. § 1129(a)(10).

           22.        The Plan Proponents assert that, with respect to a multi-debtor plan like the Plan,

§ 1129(a)(10) requires only one impaired, accepting class per plan. See Plan Proponents’

Memorandum of Law in Support of Confirmation of Plan [Dkt. No. 335].

           23.        The Plan Proponents believe that the Plan satisfies § 1129(a)(10) because Class 4

(ASVL Secured Claims) is impaired under the Plan and, as a non-insider and co-proponent of the

Plan, ASVL will vote in favor of the Plan. ASVL asserts claims against all Debtors other than

Land East.

                      i.         SHS Controls ASVL’s Plan Voting Rights and Will Vote to Reject the
                                 Plan.

           24.        Significantly, SHS holds the right to vote ASVL’s claims related to the acceptance

or rejection of the Plan pursuant to the express terms of a certain Subordination and Standstill

Agreement (the “Subordination Agreement”) entered into pre-petition by the Debtors and ASVL

in favor of SHS’ predecessor in interest HarborOne Bank (“HarborOne”). A copy of the

Subordination Agreement is attached as Exhibit A. 6

           25.        Bankruptcy Code § 510(a) provides that “[a] subordination agreement is

enforceable in a case under this title to the same extent that such agreement is enforceable under



6
     The Subordination Agreement attached hereto was previously filed with this Court as an exhibit to SHS’
     Omnibus Reply to ASVL’s and the Debtors’ Oppositions to SHS’ Claim Objection and Motions to Strike [Dkt.
     No. 362].

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applicable nonbankruptcy law.” 11 U.S.C. § 510(a).

           26.        Paragraph 4 of the Subordination Agreement provides:

                      The Subordinate Lender [ASVL] irrevocably authorizes and directs the
                      Senior Lender [HarborOne] and any trustee in bankruptcy, receiver or
                      assignee for the benefit of creditors of any of the Borrowers or Ajax,
                      whether in voluntary or involuntary liquidation, dissolution or
                      reorganization proceedings, on the Subordinate Lender’s behalf, to take
                      such action as may be reasonably necessary or appropriate to effect the
                      subordination provisions and other rights and/or remedies granted to the
                      Senior Lender in the Agreement (including, without limitation, in the case
                      of the Senior Lender, to file a proof of claim and to vote upon matters
                      with respect to which the Subordinate Lender may be able to vote in
                      connection with any bankruptcy proceedings related to any of the
                      Borrowers or Ajax) and irrevocably appoints the Senior Lender and any
                      such trustee, receiver or assignee as its attorney-or-attorneys-in-fact for
                      such purposes with full powers of substitution and re-substitution. The
                      power of attorney conferred on the Senior Lender and any such trustee
                      receiver and assignee by the provisions of this Paragraph 4, being coupled
                      with an interest, shall be irrevocable until the Senior Debt is fully satisfied
                      and shall not be affected by the disability or incapacity of the Subordinate
                      Lender and shall survive the same. Such power of attorney is provided
                      solely to protect the interests of the Senior Lender and any such trustee,
                      receiver and assignee and shall not impose any duty on the Senior Lender
                      nor any such trustee, receiver or assignee to exercise any such power and
                      neither the Senior Lender nor any such trustee, receiver or assignee shall
                      be liable for any act, omission, error in judgment or mistake of law, except
                      as the same may result from its gross negligence or willful misconduct.

Subordination Agreement, ¶ 4 (emphasis added).

           27.        In sum, pursuant to the Subordination Agreement, ASVL irrevocably assigned to

HarborOne (SHS’ predecessor in interest) its rights to vote to accept or reject the Plan.

           28.        CSM anticipates that SHS will submit a Class 4 ballot that rejects the Plan with

respect to ASVL’s secured claims. Based upon the Subordination Agreement, the Court should

disregard any ballot submitted by ASVL.

           29.        Courts have enforced provisions like the one in the Subordination Agreement,

granting the senior creditor the right to vote the subordinate creditor’s claim for or against plan

confirmation. See, e.g., In re MPM Silicones, LLC, 596 B.R. 416, 431-32 (S.D.N.Y. 2019) (in

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dicta); In re Avondale Gateway Ctr. Entitlement, LLC, 2011 WL 1376997, at *4 (D. Ariz. 2011);

In re Coastal Broad Sys., Inc., 2012 WL 2803745, at *7-8 (Bankr. D.N.J. 2012), aff’d 2013 WL

3285936, at *5-6 (D.N.J. 2013), aff’d 570 F. App’x 188, 192 (3d Cir. 2014). But see In re SW

Boston Hotel Venture, LLC, 460 B.R. 38, 52 (Bankr. D. Mass. 2011). This Court should also

enforce the terms of the Subordination Agreement, which were negotiated by sophisticated,

commercial non-debtor parties.

           30.        Assuming that SHS votes ASVL’s claims and rejects the Plan, the Plan

Proponents will no longer have an impaired, accepting class. 7 Accordingly, the Plan does not

meet the requirements of § 1129(a)(10) and confirmation of the Plan must be denied.

                      ii.        Even if the Court Determines that Class 4 is an Impaired, Accepting
                                 Class, the Plan is Not Confirmable Because No Impaired Class of Land
                                 East’s Creditors Will Accept the Plan.

           31.        CSM adopts the arguments put forth by SHS in its Objection to Disclosure

Statement [Dkt. No. 311] (“SHS DS Objection”) and its Objection to the Amended Disclosure

Statement [Dkt. No. 334] (“SHS Amended DS Objection”) and asserts that the Court should

employ the “per debtor” approach to § 1129(a)(10). See SHS DS Objection, Sec. III(B), pp. 20-

22 and SHS Amended DS Objection, Sec. III, pp. 23-25.

           32.        CSM acknowledges that there is a split among courts regarding how the impaired,

accepting class rule of § 1129(a)(10) should be applied in multi-debtor cases. The “per plan”

approach provides that a joint plan need only garner the acceptance of a single impaired creditor

class in order to be confirmed. See In re Consol. Land Holdings, LLC, 2021 Bankr. LEXIS

2270, at *12 n.67 (Bankr. M.D. Fla. Aug. 20, 2021) (collecting cases). In contrast, the “per




7
     To the extent that the Court declines to enforce the Subordination Agreement, ASVL’s vote in favor of the Plan
     cannot be counted for the purposes of § 1129(a)(10) because ASVL is a non-statutory insider of the Debtors.

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debtor” approach requires that an impaired, accepting class must be present for each debtor. Id.;

In re Tribune Co., 464 B.R. 126, 180-83 (Bankr. D. Del. 2011).

           33.        While CSM has not identified any First Circuit precedent deciding this issue, the

“per debtor” approach is the better approach on these facts. Specifically, ASVL is a Plan

Proponent and will receive preferential treatment under the Plan despite the fact that its asserted

liens against assets of Ice are junior in interest to both SHS and CSM.

           34.        In this case, even if the Court determines that ASVL, rather than SHS, controls its

Class 4 vote, ASVL does not have claims against Land East. The only impaired creditor of Land

East is SHS.

           35.        Based on the foregoing, the Court should apply the “per debtor” approach, and

find that, without the acceptance of SHS, the Plan does not satisfy § 1129(a)(10).

           B.         The Plan Discriminates Unfairly Between CSM and Other Secured
                      Creditors.

           36.        Under Bankruptcy Code § 1129(b)(1), the Plan must “not discriminate unfairly”

with respect to each impaired, non-accepting class. The Plan, however, proposes unfairly

disparate treatment between CSM and other secured creditors and, therefore, is unconfirmable.

           37.        Under the first “method” of treatment of CSM’s secured claim in Class 3, from

the Effective Date until the amount of CSM’s secured claim is determined through post-

confirmation litigation in the state court, the Plan provides for monthly payments of interest only

calculated based on the estimated amount of CSM’s secured claim. Plan, Art. 4.3(c)(i)(A). The

applicable rate of interest is 4.25% per annum (unless the Court imposes an alternative rate of

interest).

           38.        Once CSM’s secured claim is determined, the Plan contemplates a ten-year term

to pay CSM’s secured claim with a twenty-year amortization rate. Plan, Art. 4.3(c)(i)(B).


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                      i.         The Plan Affords Preferential Treatment to ASVL.

           39.        Clearly, the Plan affords ASVL preferential treatment at the expense of CSM.

See, e.g., In re Tribune Co., 972 F.3d 228, 244 (3d Cir. 2020) (discussing that a rebuttable

presumption of unfair discrimination exists when there is (a) a dissenting class; (b) another class

of the same priority; and (c) a difference in the plan’s treatment of the two classes that results in

either (i) a materially lower percentage recovery for the dissenting class (measured in terms of

the net present value of all payments), or (ii) regardless of percentage recovery, an allocation

under the plan of materially greater risk to the dissenting class in connection with its proposed

distribution).

           40.        The Plan provides that ASVL will receive a seventeen percent (17%) equity

interest in the Reorganized Debtors, guaranteed dividends of $367,237.63 per year, 8 and a release

of avoidance actions from the estates. See Plan, Art. 4.4(c).

           41.        Essentially, the Plan Proponents propose to grant ASVL an ownership interest in

an enterprise that purportedly owns $40 million in real estate and further to pay ASVL a sizable

annual return in exchange for ASVL to support the Plan. In contrast, the Plan proposes to pay

senior secured creditors out over a ten (10) year period at a lower interest rate.

           42.        Significantly, ASVL’s lien is junior to CSM’s lien against Ice’s assets.

Notwithstanding CSM’s senior position, the Plan affords ASVL with far better treatment. The

Plan Proponents propose to pay CSM, a senior secured creditor, interest over the next ten (10)

years at a rate of 4.25%, less than that being provided to ASVL under the Plan (i.e., 4.75%). 9


8
     The Plan provides that ASVL will be entitled to an “internal rate of return of four and three-quarters percent
     (4.75%) on its Secured Claims[.]” Plan, Art. 4.4(c). Therefore, it appears that the Plan proposes to pay ASVL
     an annual guaranteed dividend in the amount of 4.75% on its secured claims. This equates to an annual return of
     $367,237.63 on ASVL’s $7,731,318.49 claim. The proposed “internal rate of return” adopts the interest rate
     that ASVL received from Ajax pre-petition.

9
     Unlike ASVL, the Plan provides CSM with no right to share in the equity of the Reorganized Debtors.

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           43.        While ASVL will receive an equity stake in the Reorganized Debtors and

guaranteed dividends each year commencing on the Effective Date, CSM must litigate its claims

after confirmation and wait ten (10) years for its claims to be paid. In addition, the Plan proposes

to pay CSM from highly speculative and unsubstantiated business revenues and establishes no

reserve of cash to fund payments to creditors with claims in dispute. In fact, it appears that the

Plan depends on the Debtors, who have never been profitable, 10 attaining immediate profitability

upon confirmation. As such, the Plan will cause CSM to bear an undue proportion of risk under

the Plan.

           44.        For all those reasons, the Plan unfairly discriminates between CSM and ASVL.

                      ii.        The Plan Affords Preferential Treatment to SHS.

           45.        The Plan also affords unfairly preferential treatment to SHS.

           46.        The Plan Proponents dispute the amount of SHS’ and CSM’s secured claims and

seek to have such claims estimated for confirmation purposes. Notwithstanding these

similarities, SHS will receive a significant payment of not less than $11.5 million on the

Effective Date. CSM, however, will receive only interest payments on its estimated claims for

potentially several years post-confirmation while its claims are litigated.

           47.        Significantly, CSM’s retainage portion of its mechanic’s lien claim is not less than

$376,505 (the “Retainage Claim”).

           48.        Under Massachusetts law, in certain circumstances, the retainage owed to a

mechanic’s lien creditor is afforded priority over a mortgage lien recorded prior to the recording

of the mechanic’s lien creditor’s notice of contract. See M.G.L. c. 254, §§ 7(b) and 32.




10
      Ice’s most recent Monthly Operating Report for May 2022 [Dkt. No. 452] shows that the Debtors are still not
      operating profitably.

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           49.        CSM believes that it preserved the priority of its Retainage Claim in accordance

with M.G.L. c. 254, §§ 7(b) and 32. See Exhibit B. 11 Accordingly, the Retainage Claim is

senior in interest to SHS’ mortgage and should be paid in full on the Effective Date. 12

           50.        Unless the Plan provides for the full payment of the Retainage Claim on the

Effective Date, the Plan discriminates unfairly between CSM and SHS and should not be

confirmed.

           51.        In sum, the Plan discriminates unfairly among classes of secured creditors.

Therefore, the Plan fails to satisfy the requirements of Bankruptcy Code § 1129(b)(1).

           C.         The Plan Cannot be Deemed in the Best Interests of Creditors as Required
                      by Bankruptcy Code § 1129(a)(7).

           52.        Bankruptcy Code § 1129(a)(7)(A)(ii) requires that each non-accepting holder in

each impaired class of claims or interests:

                             will receive or retain under the plan on account of such claim or interest
                             property of a value, as of the effective date of the plan, that is not less than
                             the amount that such holder would so receive or retain if the debtor were
                             liquidated under chapter 7 of this title on such date[.]

11 U.S.C. § 1129(a)(7)(A)(ii).

           53.        To establish that the Plan should be confirmed, the Plan Proponents bear the

burden of satisfying the best interests of creditors test codified in § 1129(a)(7). See, e.g., In re

Draiman, 450 B.R. 777, 789 (Bankr. N.D. Ill. 2011); In re Global Ocean Carriers Ltd., 251 B.R.

31, 46 (Bankr. D. Del. 2000).




11
      In the Disclosure Statement, the Plan Proponents incorrectly state that CSM’s claims are likely substantially
      under-secured or wholly unsecured and suggests that the entirety of CSM’s secured claims are junior in priority
      to SHS’s secured claims against the assets of Ice. See Disclosure Statement, Arts. 4.2(F) and 8.1.
12
      Upon information and belief, SHS does not dispute that CSM holds a retainage claim in some amount that is
      senior in interest to SHS’ lien.

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           54.        In order to meet this burden, the Plan Proponents must present plausible, complete

evidence as to the liquidation value of assets and the amount of the recovery to creditors in a

hypothetical Chapter 7 case. See In re SW Boston Hotel Venture LLC, 460 B.R. 38, 65-66

(Bankr. D. Mass. 2011); In re Rusty Jones, Inc., 110 B.R. 362, 373-74 (Bankr. N.D. Ill. 1990).

           55.        The Plan Proponents must also show that under the Plan, each non-accepting

creditor will receive property under the Plan that has a present value at least equal to the amount

that such creditor would receive in a Chapter 7 liquidation. See, e.g., SW Boston Hotel Venture,

460 B.R. at 65-66; see also ACC Bondholder Grp. v. Adelphia Commc’ns. Corp., 361 B.R. 337,

364 (S.D.N.Y. 2007); In re Crwothers McCall Pattern, Inc., 120 B.R. 279, 292 (Bankr. S.D.N.Y.

1990).

                      i.         SHS’ and CSM’s Secured Claims and Debtors’ Appraisals.

           56.        SHS asserts a secured claim of approximately $18.9 million. SHS’ secured claim

is secured by mortgages on all of the Debtors’ real properties and liens on the Debtors’ personal

property.

           57.        CSM asserts a secured mechanic’s lien claim of approximately $5.825 million.

CSM’s mechanic’s lien claim is secured by a lien on only Ice’s real estate and on no other

collateral. As noted above, except for CSM’s Retainage Claim, it appears that the SHS’ secured

claim is senior in priority to CSM’s mechanic’s lien claim.

           58.        The Plan Proponents’ appraisals of the Debtors’ real properties dated April 24,

2022 show: (a) a fair market value for Ice’s real property of $18,500,000 and (b) an aggregate fair

market value for the other Debtors’ real properties of $19,300,000. 13 Based on those appraisals,

the Debtors’ real properties have a collective fair market value of $37,800,000.


13
      CSM reserves all rights to present competing appraisals or otherwise challenge the Debtors’ valuation assertions
      at a later time.

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                      ii.        The Plan Proponents’ Hypothetical Liquidation Analysis.

           59.        The Plan fails to satisfy the “best interests” of creditors test because the Plan

Proponents provide no liquidation analysis and instead conclude based on conjecture that

“[c]onfirmation of the Plan will . . . result in a substantially more certain and greater return to all

unsecured creditors than might be realized if the Bankruptcy Cases were converted to cases under

chapter 7 of the Bankruptcy Code.” Disclosure Statement, Art. 8.2.

           60.        The Plan Proponents submit that: (a) upon conversion, SHS would be granted

relief from the automatic stay to foreclose its liens on the Debtors’ properties; (b) SHS would

either credit bid its claim at the foreclosure sale or make claim to all of the proceeds of the

foreclosure sale; (c) no other creditors, other than taxing authorities, would receive anything; and

(d) a Chapter 7 trustee is not likely to litigate the amount of SHS’ claims, as there would be no

unencumbered funds to prosecute the litigation, and the primary beneficiaries of the litigation

would be CSM and ASVL as junior lienholders. Disclosure Statement, Art. 8.2.

           61.        This cursory and unsupported summary of the “likely” outcome of a hypothetical

liquidation is wholly inadequate to satisfy “best interests” requirements.

                      iii.       The Plan Proponents’ Liquidation Analysis Fails to Account for CSM’s
                                 Valid Marshaling Claims.

           62.        The Plan Proponents assert that in a hypothetical liquidation case CSM’s

mechanic’s lien claim is likely to be substantially under-secured or wholly unsecured. See

Disclosure Statement, Arts. 4.2(F) and 8.1. The Plan Proponents further argue that “in a

liquidation SHS’ Allowed Claims are . . . likely to be allocated to Ice” because “[s]ubstantially

all of SHS’ loans to the Debtors . . . were used in the construction of Ice’s rink[.]” See

Disclosure Statement, Art. 8.2.




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           63.        CSM submits that, under the equitable doctrine of marshaling, it would be

inequitable and unjust to CSM to allow SHS to liquidate assets of Ice first (i.e., CSM’s only

collateral) in order to pay the entirety of SHS’ secured claim. Instead, after conversion to a case

under Chapter 7, CSM would raise marshaling claims in either the Bankruptcy Court (if the

Chapter 7 trustee was to sell the Debtors’ real properties pursuant to § 363) or in state court (if

SHS were to foreclose on the Debtors’ real properties after obtaining relief from the stay) to

ensure that SHS would be required to first pursue the assets of the non-Ice Debtors in order to

satisfy its claims. See In re Szwyd, 394 B.R. 230, 236 (Bankr. D. Mass. 2008) (“It is beyond

refutation that bankruptcy courts have the equitable power to order the marshaling of assets in a

bankruptcy case or proceeding”).

           64.        “The equitable doctrine of marshaling exists for the benefit of junior creditors.”

In re Pray, 242 B.R. 205, 209 (Bankr. D. Mass. 1999). Marshaling “may be invoked when a

senior and a junior creditor are both secured by a common asset, but where the senior creditor is

also secured by some other asset, or assets, of a common debtor.” In re Sunset Hollow Props.,

359 B.R. 366, 378-79 (Bankr. D. Mass. 2007). “Under the doctrine of marshaling, the senior

creditor is required to look first to the non-shared collateral to satisfy its claim, thereby providing

the junior creditor with the opportunity to reach equity for its claim in the shared collateral.” Id.

at 379; see Szwyd, 394 B.R. at 236 (noting that “the marshaling doctrine requires that a senior

lienholder resort first to assets unavailable to the junior lienholder to prevent [resulting

inequities]”).

           65.        “Marshaling is generally understood by reference to state law since the rights of

lienholders typically arise in a non-bankruptcy venue.” Szwyd, 394 B.R. at 236 (citing In re Dig

It, Inc., 129 B.R. 65, 67 (Bankr. D.S.C. 1991)).



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           66.        Massachusetts law requires that a junior lienor seeking to apply the marshaling

doctrine must demonstrate that three conditions are met: “(1) a common debtor; (2) two separate

funds, one of which is a common fund available to both creditors and one of which is available

only to the senior creditor; and (3) no detriment or prejudice to the senior creditor if he is

required to pursue the fund to which he alone can look.” In re T.H.B. Corp., 85 B.R. 192, 196

(Bankr. D. Mass. 1988); see Szwyd, 394 B.R. at 236-37.

           67.        The first condition is met here. Both SHS’ and CSM’s secured claims are secured

by the assets of Ice. Therefore, SHS and CSM share a “common debtor.”

           68.        The second condition is also met here. In addition to Ice’s real property which is

both SHS’ and CSM’s collateral, SHS’ collateral consists of (a) Ice’s personal property and

(b) the non-Ice Debtors’ real properties.

           69.        Therefore, there are separate “non-shared” assets (primarily, the real properties

owned by the non-Ice Debtors) available to SHS in order to satisfy SHS’ secured claims.

           70.        Further, the Plan provides for consolidation of the Debtors in order to implement

the Plan and to satisfy Allowed Claims. See Plan, Art. 5.9. Specifically, the Plan provides in

Article 5.9 (Plan Consolidation), in relevant part and without limitation, that “[o]n the Effective

Date . . . , the Debtors shall be consolidated such that:

                      (a) all assets (and all proceeds thereof) and liabilities of each Debtor shall be
                      deemed merged or treated as though they were merged into and with the assets
                      and liabilities of all other Debtors; [and]

                      (c) all guarantees of any Debtor of the obligations of any other Debtor shall be
                      deemed eliminated and extinguished so that any Claim against any Debtor and any
                      guarantee thereof executed by the other and any joint and several liability of any
                      Debtor shall be deemed to be one obligation of the Reorganized Debtors[.]

Art. 5.9.




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           71.        In light of the consolidation of the Debtors under the Plan, all of the Debtors are

treated as common debtors for marshaling purposes. CSM has recourse only to the assets of Ice,

while SHS has recourse to the assets of Ice and the assets of the other six consolidated Debtors,

valued at more than $19 million.

           72.        The third condition is also met here. SHS will not be prejudiced if marshaling is

applied – it will be fully secured whether or not marshaling is applied. See Pray, 242 B.R. at

209-10 (“Because marshaling is fundamentally an equitable doctrine, imposition of the

marshaling order may not cause prejudice to third parties of equal or superior equity position”).

Notably, there is sufficient value in the non-Ice Debtors’ real properties alone ($19.3 million) to

satisfy SHS’ secured claim in full.

           73.        In stark contrast, CSM’s rights are dramatically and inequitably affected by the

proposed treatment under the Plan. It would be unfair for this Court to permit the consolidation

of the Debtors for the purposes of implementing the Plan (an equitable remedy sought by the

Plan Proponents to, among other things, allow the Plan Proponents to confirm the Plan over the

objections of CSM and SHS) while simultaneously allowing the Plan Proponents to defeat

CSM’s mechanic’s lien rights and diminish CSM’s recovery against Ice’s real estate. 14 See, e.g.,

In re Concepts America, Inc., 2018 WL 2085615, at *3 (Bankr. N.D. Ill. 2018); In re Dehon, Inc.,

2004 WL 2181669, at *3-4 (Bankr. D. Mass. 2004) (discussing substantive consolidation

generally and noting that it is an extraordinary equitable remedy).




14
      Courts have adopted certain exceptions to “common debtor” requirements in situations where the non-shared
      collateral is owned by a guarantor as opposed to the debtor. See, e.g., In re Borges, 184 B.R. 874, 879 n.3
      (Bankr. D. Conn. 1995). But see Sunset Hollow, 359 B.R. at 382 (declining to apply marshaling where non-
      shared collateral was owned by related corporate debtors). CSM asserts that such exceptions are not relevant
      here due to consolidation of the Debtors’ assets and liabilities under the Plan. Nevertheless, CSM believes that
      it meets the exceptions.

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           74.        The original joint plan filed by the Plan Proponents on February 1, 2022 [Dkt. No.

257] did not provide for substantive consolidation of the Debtors. That equitable remedy was

added to this Plan in an attempt to remedy the Debtors’ lack of an accepting, impaired class for

each Debtor. The Debtors are attempting to use one equitable remedy (substantive consolidation)

and should not be allowed to ignore another equitable remedy (marshaling) to defeat CSM’s

rights.

           75.        Because CSM would prevail in bringing marshaling claims, the Plan Proponents’

liquidation analysis is fundamentally flawed. The Plan Proponents incorrectly presume that

CSM would receive little to no distribution on account of its mechanic’s lien claim from the

proceeds of the liquidation of Ice’s assets. As noted above, however, there is sufficient value in

the non-Ice Debtors’ real properties alone to satisfy SHS’ secured claim in full. Therefore, CSM

asserts that it is fully secured and would be paid in full in the Debtors’ Chapter 7 case. At a

minimum, the Plan Proponents should be required to submit a liquidation analysis that accounts

for CSM being fully secured and paid in full.

                      iv.        The Plan Proponents Have Not Met Their Burden of Showing that the
                                 Net Present Value of Plan Distributions to CSM is Equal to or Greater
                                 Than the Amount CSM Would Receive in a Hypothetical Chapter 7
                                 Case.

           76.        For the purposes of § 1129(a)(7), it is the Plan Proponents’ burden to show that

the present value of plan distributions to CSM is equal to or greater than the amount of the

hypothetical litigation recovery. The Plan Proponents have not met their burden with respect to

CSM.

           77.        The Plan contemplates paying CSM’s secured claims in full over ten (10) years

once CSM’s claims are determined. Initially, while state court litigation concerning CSM’s




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claims is ongoing, the Plan Proponents will make interest only payments to CSM calculated

based on the Plan Interest Rate of 4.25%.

           78.        In order to determine the value of plan payments to CSM as of the Effective Date,

the Court must discount them to their net present value as of the Effective Date. See Till v. SCS

Credit Corp., 542 U.S. 465, 474 & n. 10 (2004) (“[T]he Bankruptcy Code includes numerous

provisions that … require a court to discount[t] … [a] stream of deferred payments back to the[ir]

present dollar value[,]” including § 1129(a)(7)); see also In re Hockenberry, 457 B.R. 646, 653

(Bankr. S.D. Ohio 2011) (citing several cases).

           79.        The Plan Proponents have presented no evidence to show that the present value of

deferred payments over ten (10) years with 4.25% interest is equal to or greater than what CSM

would receive in a Chapter 7 case.

           80.        For the foregoing reasons, the Court must find that the Plan fails to satisfy

§ 1129(a)(7).

           D.         The Plan is Not Fair and Equitable With Respect to CSM.

           81.        CSM’s secured claims (i.e., Class 3 claims) are impaired under the Plan, and CSM

has voted to reject the Plan. Therefore, the Plan must satisfy the “fair and equitable”

requirements of Bankruptcy Code § 1129(b).

           82.        The Plan is not “fair and equitable” with respect to CSM. Significantly,

Bankruptcy Code § 1129(b)(2) mandates that with respect to an impaired, dissenting class of

secured claims, the plan must provide:

                      (i) (I) that the holders of such claims retain the liens securing such claims,
                      whether the property subject to such liens is retained by the debtor or
                      transferred to another entity, to the extent of the allowed amount of such
                      claims; and




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                      (II) that each holder of a claim of such class receive on account of such
                      claim deferred cash payments totaling at least the allowed amount of such
                      claim, of a value, as of the effective date of the plan, of at least the value
                      of such holder’s interest in the estate’s interest in such property;

                      (ii) for the sale, subject to section 363(k) of this title, of any property that
                      is subject to the liens securing such claims, free and clear of such liens,
                      with such liens to attach to the proceeds of such sale, and the treatment of
                      such liens on proceeds under clause (i) or (iii) of this subparagraph; or

                      (iii) for the realization by such holders of the indubitable equivalent of
                      such claims.

11 U.S.C. § 1129(b)(2)(A).

           83.        In addition to meeting all of the technical requirements of § 1129(b)(2), a plan

proponent must convince the court that the terms of a “cram-down” plan are fair and equitable to

any dissenting class and do not unduly shift the risk of the reorganization to creditors. See In re

Cottonwood Corners Phase V, LLC, 2012 WL 566426, at *22 (Bankr. D.N.M. 2012) (noting that

to determine whether a plan is fair and equitable, a court may consider several factors in addition

to the specific requirements found in § 1129(b)(2)(A), including whether the risks are unduly

shifted to the creditor); In re Montgomery Court Apartments, 141 B.R. 324 (Bankr. S.D. Ohio

1992).

           84.        Similar to the Plan Proponents’ failures under § 1129(a)(7), the Plan Proponents

have not shown that CSM will receive payments under the Plan having a present value, as of the

Effective Date, equal to at least the value of CSM’s secured claim. See § 1129(b)(2)(A)(i)(I) and

(II).

           85.        As discussed above, CSM asserts that its mechanic’s lien claim is fully secured in

part because the equitable doctrine of marshaling should apply to ensure that SHS’ secured

claims are allocated to the assets of the non-Ice Debtors.




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           86.        In addition, given the undue risk placed on CSM under the Plan and the lengthy

Plan term, CSM disputes that the Plan Interest Rate is adequate to provide CSM with the present

value of its claim as of the Effective Date. 15 The Plan Proponents’ projections are highly

speculative, and CSM bears the risk that revenues will be insufficient to make required plan

payments to CSM.

           87.        In addition, under the first “method” of Plan treatment, from the Effective Date

until the determination of the amount of CSM’s secured claims through post-confirmation

litigation, the Plan provides for monthly payments of interest only calculated based on the

estimated amount of CSM’s secured claim. Plan, Art. 4.3(c)(i).

           88.        The Plan Proponents offer no explanation regarding the proposed treatment of

CSM nor provide evidence that the proposed treatment meets “cram-down” requirements.

           89.        In addition, the Plan contemplates a ten-year term to pay CSM’s secured claims

with a twenty-year amortization rate. Both the length of this term and the amortization rate are

unreasonable.

           90.        The Plan contemplates paying CSM over time from business revenues and

establishes no reserve of cash to fund payments to creditors with claims in dispute. As noted

above, the Debtors’ other secured creditors (i.e., SHS and ASVL) will receive more favorable

treatment under the Plan (with SHS receiving not less than $11.5 million in cash on the Effective

Date and with ASVL receiving an equity stake and guaranteed annual dividends). In contrast,

CSM will be paid interest only while it litigates with the Debtors. As such, the Plan will cause




15
      CSM reserves all rights to request that the Bankruptcy Court impose a higher rate of interest in order to provide
      CSM with the indubitable equivalent of its claims.

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CSM to bear an undue proportion of risk under the Plan. 16 See Cottonwood Corners, 2012 WL

566426, at *25.

           E.         The Plan is Not Feasible.

           91.        The so-called “feasibility” requirement set forth in Bankruptcy Code

§ 1129(a)(11) provides that:

                      The court shall confirm a plan only if . . . [c]onfirmation of the plan is not
                      likely to be followed by the liquidation, or the need for further financial
                      reorganization, of the debtor or any successor to the debtor under the
                      plan, unless such liquidation or reorganization is proposed in the plan.

11 U.S.C. § 1129(a)(11).

           92.        The plan proponent bears the burden to show that the Plan is feasible. See

Cottonwood Corners, 2012 WL 566426, at *26.

           93.        “When determining whether a plan is feasible, courts often consider a debtor’s

cash flow projections showing its ability to simultaneously make plan payments and fund

projected operations. The projections must be based upon evidence of financial progress and

must not be speculative, conjectural, or unrealistic.” Investment Co. of the Southwest, Inc., 341

B.R. 298, 310 (10th Cir. B.A.P. 2006) (citing In re Trevarrow Lanes, Inc., 183 B.R. 475, 482

(Bankr. E.D. Mich. 1995)).

           94.        The Reorganized Debtors’ projections (“Exhibit C” to the Disclosure Statement)

provide only a condensed summary and fail to provide material details regarding post-

confirmation Plan payments to CSM and other parties, legal fees and other expenses incurred

through post-confirmation litigation, and possible impediments. In fact, it appears that the



16
      CSM’s litigation with Ice and others post-confirmation will likely take many months and possibly years to
      conclude. While the litigation is ongoing, CSM will receive interest-only payments on its Estimated Secured
      Claim. During that time the value of Ice’s real estate will undoubtedly appreciate. Therefore, it would be
      inequitable for this Court to cap CSM’s Estimated Secured Claim at the amount of the current equity in Ice’s
      real estate (above the amount of SHS’ secured claim).

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projections fail to provide for any payments being made to CSM on account of its secured claim,

despite the fact that the Plan requires at a minimum interest payments to CSM calculated based

on CSM’s Estimated Secured Claim.

           95.        Significantly, the Debtors dismiss and provide no contingencies for negative

litigation outcomes – particularly with respect to the claims of CSM and SHS. For the Plan to be

confirmed, the Plan Proponents must show that the Plan is feasible notwithstanding litigation

risks.

           96.        In addition, the Court should look to the Debtors’ performance during the

pendency of these cases to determine whether the Plan is feasible. See In re Agawam Creative

Mktg. Assocs., Inc., 63 B.R. 612, 620 (Bankr. D. Mass. 1986) (stating that where operational

revenues are being used to fund a plan, the debtor’s financial record during the Chapter 11 is

probative of feasibility”).

           97.        The Plan Proponents provide no credible support for their belief that revenues will

increase significantly once the Plan is confirmed. The Plan Proponents’ projections estimate

significant revenue increases as a result of efforts to reorganize Ice’s scheduling and

programming for the rink, including approximately $370,000 from increased rink usage,

approximately $107,400 from floor sports, and approximately $40,000 from sponsorship

opportunities, as well as increased net income of approximately $304,000 from the re-opening of

Ice’s restaurant, the opening of its café and from catering. Disclosure Statement, Art. 8.1.

           98.        The Debtors, however, have struggled to operate profitably since prior to the

Petition Date and prior to the onset of the COVID-19 pandemic, and have shown no ability

during the Chapter 11 cases to pay creditors and operate profitably. Indeed, at the end of last




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year, SHS had obtained conditional relief from the automatic stay to foreclose on non-Ice real

properties, which precipitated SP’s initial funding of post-petition loans.

           99.        According to the most recent Monthly Operating Report filed by Ice, the only

operating entity, losses continue to pile up despite making no payments to CSM or ASVL. To

expect a dramatic turnaround in the Debtors’ profitability is mere wishful thinking.

           100.       CSM further adopts the arguments put forth by SHS in the SHS DS Objection and

SHS Amended DS Objection related to the Plan’s lack of feasibility, including without limitation

the following:

                      a.         The Debtors’ cash flow projections are inherently unreliable;

                      b.         The Reorganized Debtors will be undercapitalized and unable to
                                 meet cash needs and payment obligations within months of the
                                 Effective Date;

                      c.         Projected revenues are overstated, and expenses are understated;
                                 and

                      d.         Rink revenues are insufficient to fund post-confirmation
                                 obligations.

See SHS DS Objection, Sec. III(A), pp. 17-20; SHS Amended DS Objection, Sec. II(A), pp. 14-

18.

           101.       Based on the foregoing, the Plan Proponents cannot demonstrate that the Plan is

feasible. As a result, confirmation of the Plan must be denied.

III.       JOINDER IN OTHER OBJECTIONS AND RESERVATION OF RIGHTS.

           102.       CSM hereby joins in the objections of other parties to confirmation of the Plan, to

the extent that such objections supplement and are not otherwise inconsistent with this Objection.

CSM reserves the right to supplement this Objection as may be necessary or appropriate.




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IV.        CONCLUSION.

           For all of the foregoing reasons, CSM respectfully requests that the Court enter an order

(i) sustaining this Objection, (ii) denying confirmation of the Plan, and (iii) granting to CSM such

other and further relief as the Court deems just and proper.


                                                           Respectfully submitted,

                                                           CONSTRUCTION SOURCE MANAGEMENT,
                                                           LLC


                                                           By its counsel,


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                                                           -and-

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                   SUBORDINATION AND STANDSTILL AGREEMENT


       This SUBORDINATION AND STANDSTILL AGREEMENT (this “Agreement”) is
made as of the day of           , 2016 by and among ASHCROFT-SULLIVAN
SPORTS VILLAGE LENDER. LLC, a Delaware limited liability company, having an address of
c/o the Ashcroft Sullivan New England Economic Development Center, LLC, 200 State Street,
7th Floor, Boston,, MA 02109 (the “Subordinate Lender”), AJAX 5CAP NESV, LLC, a
Delaware limited liability company, having .an address of c/o. Five. Capital .Management LLC,
521 Mount Hope Street, North Attleboro, MA 02760 (“Ajax”), and HARBORONE BANK, a
Massachusetts cooperative bank, having an address of 770 Oak Street, Brockton, MA 0230.3
(together with, its successors arid assigns, the “Senior Lender”).


        WHEREAS, the Senior Lender has. extended to NESV ICE, LLC, a Delaware limited
liability company (the: “Construction Borrower”), a construction loan in the Original principal
amount of Nine Million Five Hundred Six Thousand and No/100 Dollars ($9,506,000.00)
(hereinafter referred to as the “Senior Construction Loan”), pursuant to the. terms of a
Construction Loan Agreement (as the same may be amended, restated, modified, substituted or
extended from time to time, the “Senior Construction Loan Agreement”) dated June 24, 201.6 by
and among. Ajax, the Construction Borrower, the Senior Lender, NESV SWIM, LLC, NESV
FIELD,.LLC, NESV HOTEL, LLC, NESV TENNIS, LLC, and NESV LAND, LLC, each a
Delaware limited liability company (collectively, the “Term Borrowers” and, together with the
Construction Borrower, the. “Borrowers”), having a principal address c/o Five Capital
Management LLC, 521 Mount Hope Street, North Attleboro, Massachusetts 02760, and
STUART SILBERBERG, individually (“Silberberg”), having a principal address of 28 Marjory
Lane, Scarsdale, New York 10583, as well as a Promissory Note dated June 24, 201 6 by the
Construction Borrower payable to the order of the Senior Lender in the original principal amount
of Nine Million Five Hundred Six Thousand arid No/1 00 Dollars ($9,506,000.00) (as the; same
may be amended, restated^ modified, substituted or extended from time to;tim.e, the
“Construction Note”); and

        WHEREAS, the: Senior Lender has extended to the Term Borrowers a.term loan in the
original, principal amount of One Million Nine Hundred Sixty Thousand and No/100 Dollars
($ 1 ,960,000.00) (hereinafter referred to as the “Senior Term. Loan” and, together with the. Senior
Construction Loan, the “Senior Loans”),. pursuant to the: terms of a Loan Agreement (as the
same may be amended, restated, modified, substituted or extended from. time to time, the “Senior
Term Loan Agreement” and, together with the. Senior Construction Loan Agreement, the “Senior
Loan Agreemerits”) dated June 24, 2016 by and among, Ajax, the Term Borrowers, the Senior
Lender, the Construction Borrower and Silberberg, as well as a .Promissory Note dated June 24,
2016 by the Term. Borrowers payable to the Order of the Senior Lender in the original principal
amount of One Million Nine Hundred Sixty Thousand and No/1 00 Dollars ($ 1 ,960,000.00) (as
the same may be amended, restated, modified, substituted or extended from time to time, the
 “Term Note” arid, collectively with the ConstructionNote, the “Senior Notes”). Capitalized
 terms riot otherwise defined herein shall have the meanings set forth in the Senior Loan
 Agreements; and
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       WHEREAS, Aj ax .has agreed to guarantee the obligation's of the Borrowers under the
Senior Loans by virtue of (i) a Payment Guaranty from Ajax, the Term Borrowers and Silberberg
in favor of the Senior Lender, dated June 24, 2016 (as the same may be amended, restated,
modified, substituted or extended from time to time, the “Senior Construction Payment
Guaranty”), (ii) a Completion Guaranty from Ajax, the Term Borrowers, and Silberberg in favor
of the Senior Lender, dated June 24, 2016 (as the same may be amended, restated, modified,,
substituted or extended from time to time, the “Senior Construction Completion Guaranty”), and
(iii) a Payment Guaranty from Ajax, the Construction Borrower and Silberberg in favor of the
Senior Lender, dated June 24,2016 (as the same may be amended,, restated, modified, substituted
or extended from title to time, the “Senior Term Payment Guaranty” and, together with the
Senior Construction Payment Guaranty and the. Senior Construction Completion Guaranty, the
^‘Senior Guaranties”); and

      WHEREAS, the Borrowers’ obligations under the Senior Notes, the Senior Loan
Agreements and the other Loan Documents (as defined and determined by each of the Senior
Loan Agreements) are secured, in part, by (i) a Mortgage, Financing statement and Security
Agreement (as the same may be. amended, restated, modified, substituted or extended from time
to time, the “Senior Construction Mortgage”) from the Construction Borrower ih favor of the
Senior tender, dated June 24, 2016, encumbering the Mortgaged Property (as defined in the
Senior Construction Mortgage), and recorded with the Bristol North District Registry of Deeds
(the “Registry”) in Book 20364, Page 289, (ii) an Assignment of Leases and Rents (as the same
may be amended, restated, modified, substituted.or extended from time to time,, the “Senior
Construction Assignment of Leases”) from the Construction Borrower in favor of the Senior
Lender, dated June 24, 20 1 6, encumbering the Mortgaged. Property, as defined in the Senior
Construction Mortgage, and recorded with the Registry in Book 20364, Page 3 15, (iii) a
Mortgage, Financing Statement and Security Agreement (as tire same may be amended, restated,
modified, substituted or extended from time to time (the “Senior Term Mortgage” and, together
with the Senior Construction Mortgage, the “Senior Mortgages”) from the Term Borrowers in
favor of the Senior Lender,, dated June 24, 2016, encumbering the Mortgaged Property (as
defined in the Senior Term Mortgage), and recorded with the Registry in Book 20365, Page I,
and filed with the Registered Land. Section, of the Bristol North District Registry of Deeds (the
“Registered Land Section”) as Document No. 10473.8 and (iv) an. Assignment of Leases and
Rents (as the same may be amended, restated, modified, substituted or extended from time to
time, the “Senior Term Assignment of Leases” and, together with, the Senior Construction
Assignment of Leases, the “Senior Assignment of Leases”) from the Term Borrowers in favor of
the Senior Lender, dated.June 24, 2016, encumbering the Mortgaged Property, as defined in the
Senior Term Mortgage, and recorded with the Registry in Book 20.3 65, Page 3 1 and. filed with
the Registered Land Section as Document No. 104739; and

       WHEREAS, the Senior Notes, the Senior Loan Agreements, the Senior Mortgages, the
Senior Assignment of Leases, the Senior Guaranties and all other instruments and documents,
now or hereafter evidencing and/or securing the repayment of, or. otherwise pertaining to and
executed and delivered in connection with, the Senior Loans evidenced by the Senior Notes, are
hereinafter collectively referred to as the “Senior Loan Documents”: arid




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       WHEREAS, Ajax has executed and delivered to the Subordinate Lender a certain
Promissory Note (the “Subordinated Note”), dated of even date herewith, in tile original
principal amount of Twenty Million andNo/lOOths Dollars ($20,000,000.00) made by Ajax to
the order of the Subordinate Lender; and

       WHEREAS, payment of the indebtedness evidenced by the Subordinated Note is secured
by a Pledge Agreement (the “Subordinated Pledge Agreement”), by and between Ajax and the
Subordinate Lender, dated of even date herewith, pursuant to which Ajax grants to the
Subordinate Lender the “Pledged Collateral,” as such term is defined in the Subordinated Pledge
Agreement; and


       WHEREAS) Ajax and the Subordinate Lender have executed and delivered a certain
Loan Agreement (the “Subordinated Loan Agreement”), by and between Ajax and the
Subordinate Lender, dated of even date herewith; and


       WHEREAS, the Subordinated Note, the Subordinated Pledge Agreement and the
Subordinated Loan Agreement (collectively, the “Subordinated Loan. Documents”) shall be the
only instruments or documents evidencing the repayment of the Subordinated Debt (as.
hereinafter defined); and

       WHEREAS, in the. absence of this Agreement .the Senior. Lender would not consent to
Ajax entering into the. Subordinated 'Pledge Agreement;: and

       WHEREAS, the Senior Lender requires that the Subordinate Lender, the Borrowers, and
Ajax enter into this Agreement as a condition precedent to the. Senior Lender consenting to. Ajax,
entering into the Subordinated Pledge Agreement;

       NOW, THEREFORE,. for Ten Dollars ($10.00) and other good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged, and in
consideration of the mutual covenants set forth herein, the parties act and agree as. follows:

        1.      The Subordinate. Lender agree that the payment, of principal, interest and- all other
charges or payments with respect to the.. Subordinated Debt is expressly subordinated, in the
manner hereinafter set .forth, in right of payment to the. prior payment and satisfaction in full of
the Senior Debt (as hereinafter defined). As used herein, (a) “Senior Debt” means the principal,
interest and all other sums payable and all other obligations to be performed from time to time
under the Senior Loan Documents and any and all other indebtedness or liability of the
Borrowers and/or Ajax .to the Senior Lender, whether direct or .indirect, absolute or contingent,
secured or unsecured, and (b) “Subordinated Debt” means the principal, interest and all other
sums payable and. all obligations to be performed from time to time. under the Subordinated Note
and any arid all other indebtedness or liability of Ajax to the Subordinate Lender, Whether direct
or indirect, absolute or contingent, secured. or unsecured.

       2.       As long as any part of the Senior Debt shall. remain unsatisfied, no paymentof
principal or interest or any other sum shall be made by Ajax or accepted by the Subordinate
Lender,, at any time, with respect to the Subordinated Debt, without the prior written consent of
the Senior Lender, in each instance, provided, however that, so long as no Event of Default



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exists, Ajax may make arid the Subordinate Lender may accept payments of accrued interest on
the Subordinated. Debt, without, the prior written consent of the Senior Lender. The Subordinate
Lender agrees that, except as. may otherwise be expressly permitted by the terms of this
Paragraph 2, without the prior written consent of the Senior Lender, in each instance, the
Subordinate Lender will not demand, ask, bring suit for, accept or receive any payment with
respect to the Subordinated Debt, The Senior Lender shall be under no obligation to grant any
consent referred to in this Paragraph 2 as long as any part of the Seni or Debt shall remain
unsatisfied.

        3.     In the event of an acceleration of the Senior Debt pursuant to the terms of any of
the Senior Loan Documents, or in the event of a distribution of the assets, dissolution, winding-
up, liquidation or reorganization of the Borrowers or Ajax (whether in bankruptcy, insolvency or
receivership proceedings or upon an assignment for the benefit of creditors or otherwise), the
Senior Debt shall be paid arid satisfied in full before the Subordinate Lender is entitled to receive
any payment whatsoever on account of the Subordinated Debt, and any payment or distribution
(of any kind or nature whatsoever) to which the holder of the Subordinated Debt would
otherwise be entitled, but for the subordination provisions of this Agreement, shall be paid
directly to the Senior Lender (to be applied toward the Senior Debt), until the Senior Debt shall
have been paid and satisfied in full. Subject to the foregoing and the provisions of Paragraph 4,
the Subordinate Lender shall have the right to file a claim or proof of claim, be a member of a
creditors’ committee, vote on apian and otherwise act to preserve and protect its claims and
interests as the holder of the Subordinated Debt.

        4.      The Subordinate Lender irrevocably authorizes and directs the.Senior Lender and
any trustee, in bankruptcy,- receiver or assignee for the benefit of creditors of any of the
Borrowers or Ajax, whether in voluntary or involuntary liquidation, dissolution or reorganization
proceedings, on the Subordinate Lender’s behalf, to take such action as may be reasonably
necessary or appropriate to effect the subordination provisions and other rights and/or remedies
granted to the Senior Lender in this Agreement (including, without limitation, in the case of the
Senior Lender, to file a proof of claim and to vote upon matters with, respect to which the
Subordinate Lender may be able to vote in connection With any bankruptcy proceedings relating
to any of the Borrowers or Ajax) and irrevocably appoints the Senior Lender and any such
trustee, receiver or assignee as its attorney-or-attorneys-iri-fact for such purposes with full
powers of substitution and re-substitution* The power of attorney conferred on the Senior
Lender and any such trustee receiver and assignec by the provisions of this Paragraph 4, being
coupled with an interest shall be irrevocable until the Senior Debt is fully satisfied and shall, not.
be affected by the disability or incapacity of the Subordinate Lender and. shall survive the same.
Such power of attorney is provided solely to protect the interests of the Senior Lender and any
such trustee, receiver and assignee and shall not impose any duty on the Senior. Lender nor any
such trustee, receiver or assignee to exercise any such power and neither the Senior Lender nor
any such trustee, receiver or assignee shall be. liable for any act, omission, error in judgment, or
mistake .of law, except as the same may result from its gross negligence, or willful misconduct.

        5.      The terms of this Agreement, the subordination effected hereby and the respective
 rights, remedies and obligations , of the. Senior Lender and the Subordinate Lender shall not be
 affected by (a) any amendment or restatement of. or addition or supplement to, any of the Senior



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Loan. Documents,, (b) any exercise or non-exercise of atty right, power or. remedy under any of
the Senior Loan Documents or any instrument or agreement relating thereto, or securing or
guaranteeing, any. of same, or (c) any waiver, consent, release, indulgence, extension, renewal,
modification, delay or Other action, inaction or omission pertaining to the Senior Debt or any
instrument or agreement relating thereto, or securing or guaranteeing any of same, all whether or
not the Subordinate Lender shall have had notice and/or knowledge of any of the foregoing.

       6.      As long as any portion of the Senior Debt shall remain outstanding:

             (a)      the Subordinate Lender irrevocably waives, any right to require
       marshalling of the assets of any of the Borrowers and/or Ajax and agrees that, the Senior
       Lender shall have no obligation to seek satisfaction of the Senior Debt through recourse
       to collateral, if any, other than the applicable Mortgaged Property, prior to the exercise of
       the Senior Lender’s rights with respect to the applicable Mortgaged. Property;

               (b)     none of the Subordinated Loan Documents shall be amended, cancelled,
       forgiven or terminated, without the prior written consent of the .Senior Lender, in each
       instance, which consent may be withheld in the Senior Lender’s sole, and absolute
       discretion;

               (cj     the Subordinate Lender shall not grant, or consent to any further or
       additional subordination df the Subordinated Debt in whole or in part, in favor of any
       Person other than the Senior Lender,, without the prior written consent of the Senior
       Lender, in each instance, which consent may be withheld in the Seiiior Lender’s sole and
       absolute discretion;


               (d)     the Subordinate Lender will not file, cause to befiled orjoin in the filing
       of, any petition tinder the Bankruptcy Code, or any similar petition or pleading under any
       state law, against any of the Borrowers, or Aj ax or seeking any relief with respect to any
       o f the Borrowers or Ajax (including, without limitation, the. appointment of a receiver,
       trustee or other similar official for it or any part of its business or properties) under any
       such law, without the prior written consent of the Senior Lender, in each instance, which,
       consent may be withheld in the Senior Lender’s solo and absolute discretion;

               (e)     except for the Pledged. Collateral, the Subordinate Lender will not demand
       or accept as. security for the Subordinated Debt any collateral owned, wholly or in part,
       by the Borrowers, or Ajax (including, Without limitation, the Mortgaged Property) without
       the prior written consent of the Senior Lender, in each instance, which consent may be
       withheld in the Senior Lender’s sole and absolute discretion;


               (f)      Ihe Subordinate Lender will not exercise any rights or remedies with
       respect to the. Pledged Collateral; and

               (g)    the Subordinate Lender will not enter into any other .promissory notes with
       any of the Borrowers and/or Ajax without the prior Written consent of the Senior Lender,
       in each instance, which consent may be withheld in the Senior Lender’s,sole and absolute
       discretion.



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       7.      The ,Subordinate Lender shall be entitled to the. right of subrogation with respect
to payments to the Senior Lender made hereunder, but only if the Senior Debt shall have been
first paid in full and discharged.

        8.     The. Subordinate Lender agrees not to assign or transfer any interest in the
Subordinated Debt, to any Person without the prior written consent of the Senior Lender, in each
instance, which consent the Senior Lender may withhold in its sole and absolute, discretion,
unless prior to or simultaneous with any such assignment or transfer, the applicable assignee, or
transferee , acknowledges and agrees to be bound by the terms and conditions . of this Agreement
and executes and delivers to the Senior Lender an agreement, in form and substance reasonably
acceptable to the Senior Lender, affirming and confirming such agreement to be bound.

        9.       If the Subordinate Lender, the Borrowers and/or Ajax, contrary to this Agreement,
makes or receives any payment; attempts to or threatens to make or receive any payment not
expressly permitted by the terms of this Agreement, takes any other action contrary to this
Agreement or fails to take, any action required by this Agreement or, with respect to such
Subordinate Lender, commences or participates in any action or proceeding against the
Borrowers, Ajax, the Mortgaged Property and/or the Pledged Collateral to enforce the payment
of the Subordinated Debt or to realize upon the Pledged Collateral, then, the Senior Lender may
obtain relief by injunction, specific performance and/or other appropriate equitable relief; it
being understood and agreed that (a) the Senior Lender’s damages from the Subordinate.
Lender’s, the Borrowers’ and/or Ajax’s actions may at that time be difficult to ascertain and may
be irreparable, and (b) the Subordinate.Lender, the Borrowers and Ajax waive any defense or
claim that the Senior Lender cannot demonstrate any damage and/or can be made whole by the
awarding of damages.


           10.   The Subordinate. Lender agrees to indemnify and to hold the Senior Lender
harmless from and against any and all reasonable costs and expenses (including, without
limitation, reasonable attorney’ s fees and expenses) relating to (a) any actions of the . Subordinate
Lender taken contrary to this Agreement and (b) the enforcement of this Agreement in the event
of any breach or default by the.: Subordinate Lender hereunder. Each, of the Borrowers and Ajax
each agree to; indemnify and hold the Senior Lender harmless from and against .any and all
reasonable cdsts and expenses (including, without limitation, reasonable attorneys.’ fee and
expenses) relating to (y).any actions of any of the Borrowers and/or Ajax taken contrary to this
Agreement and (zj the enforcement of this Agreement in the event of any breach or default by it
hereunder.


           11.   This? Agreement shall be binding, upon and shall inure to the benefit of the parties
hereto and their respective heirs, executors, administrators, legal representatives, successors and
assigns.


           12.   If any provision of this. Agreement or the application thereof to any Person or
circumstance, for any reason and to any extent, shall be held to be invalid or unenforceable,
neither the remainder of this Agreement nor the application of such provision to any other Person
or circumstance shall be affected thereby, but rather the same: shall be enforced to the greatest
extent permitted by law. Notwithstanding the foregoing, it is the intention of the parties hereto
that if any provision hereof is capable of two (2) constructions, one of which would render the.


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provision void and the other of which would render the provision valid, then such provision shall
be construed in accordance with the construction which renders such provision valid;

        13.   The Subordinated Note and any subsequent notes evidencing any portion of the
Subordinated Debt shall. be marked with the following legend:

                       “Payment of this.note is subject to the terms and
                       conditions of a Subordination and Standstill
                       Agreement dated as Of                               .,
                       2016, among the payee, the borrower and
                       HarborOnc Bank. A copy of said Subordination
                       and Standstill Agreement may be obtained upon
                       written request of any holder of this note from
                       HarborOne Bank,. 770 Oak Street, Brockton, MA
                       02303.”

        14.    Nothing contained in this Agreement or otherwise will in any event be deemed to
constitute the Senior Lender to be the agent of the Subordinate Lender for any purpose nor to
create any fiduciary relationship, between the Senior Lender and the Subordinate Lender. No
action or inaction with respect to any collateral for the Senior Debt; nor any amendment to any
of the Senior Loan Documents; nor any exercise or n.on-exerpise of any right, power or remedy
under or in respect of any of the Senior Debt or any instrument or agreement relating to, securing
or guaranteeing any of the Senior Debt;: nor. any waiver, consent, release, indulgence, extension,
renewal, modification, delay or other action, inaction or omission in respect of any of the Senior
Debt or any instrument or agreement relating to, securing or guaranteeing any of the Senior Debt
will in any event give rise to any claim by the Subordinate Lender against the Senior Lender or
any officer, director, employee or agent of the Senior .Lender.

       15,  This Agreement, shall be governed, by and construed in accordance with the laws
of The Commonwealth of Massachusetts.

        16.    To the maximum extent permitted by applicable law, the Subordinate Lender, the
Borrowers and Ajax hereby submit to the jurisdiction of the courts of The Commonwealth of.
Massachusetts and the; United States. District Court for the District of Massachusetts, as well as to
the jurisdiction of all. courts from which an appeal may be taken from the aforesaid courts, for the
purpose of any suit, action or other proceeding arising but of, or with respect. to this Agreement
and expressly waive any and all objections they may have as to venue in any of such courts.

        17 .   Any notice, request, demand, statement or consent made hereunder shall be in
writing and shall be deemed duly given if personally delivered, sent by certified mail, return
receipt requested, or sent by a nationally recognized commercial overnight delivery service with
provisions for a receipt, postage or delivery charges prepaid,, and shall be deemed given (a) three
(3) days after postmarked, If sent by certified mail, or (b) when received, if personally delivered
of sent by such an overnight delivery service and addressed to the applicable party at such
party’s address set forth in the introductory paragraph of this Agreement or at such other place as
any of the parlies hereto, may . from time to time hereafter designate to the other in writing. Any




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notice given to the Subordinate Lender, the Borrowers or Ajax by the Senior Lender at any time
shall not imply that such notice or any further or similar notice Was pr. is required.

        18.     This Agreement shall remain in frill force and effect. so long as the Senior Debt
remains undischarged or unsatisfied in. any respect. The Subordinate Lender, the. Borrowers . and
Ajax agree that an affidavit, certificate, letter or statement of any officer, agent or attorney of the
Senior Lender indicating that any part of the S enior Debt remains outstanding , shall be deemed
prima facie evidence of the validity, effectiveness and continuing force Of this Agreement and
any Person, is hereby authorized to rely thereon. Upon the complete payment and performance of
the Senior Debt and the recording of a full and complete discharge ofmortgage, assignment of
leases and rents and security agreement discharging the Senior Mortgages and the Senior
Assignment of Leases, this Agreement shall be deemed terminated without further action.

        19.     In ho event shall the Senior Lender ever be liable to the Subordinate Lender for
any indirect or consequential damages suffered by the Subordinate Lender from any cause
whatsoever;

       20.     Reference iii this Agreement to “herein”, “hereof’ shall be deemed to refer to this
Agreement and shall, not be limited to' the particular text or section in which such words appear.
The use of any. gender shall include all genders and the singular number shall include the plural
and vice versa as the context may require.

       21.     Reference in this Agreement to the Mortgaged Property shall be deemed to
include references to all of theMortgagcd Property-, as. the case may be and . as defined and
described in the Senior Mortgages, as applicable, and references to any portion thereof
References in.this Agreement to the Subordinated Debt shall be deemed: to include references to
any of the Subordinated Debt and any portion thereof. Reference® in this Agreement to the
Senior Debt shall be deemed to include, references to all of the Senior Debt and any portion
thereof. References in this Agreement to the Senior Loan Documents shall include, without
limitation, all renewals, replacements, amendments, extensions, substitutions^ revisions,
consolidations and modifications of the Senior. Loan Documents.

        22.    As used herein, the term. “Person” shall include all individuals and. all entities, of
every kind, and nature, including, without limitation, corporations, general and limited
partnerships stock companies or associations, joint ventures, unincorporated associations!
companies, trusts, banks, trust companies, land trustee, business trusts, and agencies, authorities,
bodies, boards, commissions, courts, instrumentalities, legislatures, or. offices of any nature
whatsoever for any government unit or political subdivision, whether federal, state, county,
district, municipal, city or otherwise, and whether now or hereafter in existence.

       23 .    As used herein, the term “including”, when following any general statement, will
hot be construed to limit such statement to the specific items or matters as provided immediately
following the.term “including” (whether or not non-limiting language such as “without
limitation” or “but riot limited to” or words of similar import are also used), but rather will be
deemed to refer to all items or matters that could reasonably fail within the broader scope of the
general statement.




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        24.    This Agreement may be executed, in one or more counterparts;, each of which
taken together shall constitute ah original and all of which shall constitute One and the same
instrument.


       25.     Time is of the essence of this Agreement.




                    [END OF TEXT; SIGNATURE PAGE(S) TO FOLLOW]




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         EXECUTED as an instrument under seal as of the date and year first above written.




 WificiESS:                                   amsir ER:
                                              HARBORONE BANK.




                                              By:
 Name:                                              Mathew J. Insane, Vice President




 W]                                          SUBORDINATE LENDER:

                                             ASHCROFT SULLIVAN SPORTS VILLAGE
                                             LENDER, LLC




Name: Mid^dfc                                       Name:        it ti ^Eq/SUCM vJ-fJ
                                                    Title:

              &

                                             NESV ICE, LLC, a Delaware limited liability
                                             company




                                             By;
NaSi:                                              Si        Silberberg, Manager

                                             NESV SWIM, LLC, a Delaware limited liability
                                             company




                                                   Stuart Silberberg, Manager




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                                        NESV FIELD, LLC, aDelaware limited liability
                                        company




                                        Bv:
Name:c-X
                                              Stu® Silberberg, Manager

                                        NESV HOTEL, LLC, a Delaware limited liability
                                        company




                                        Bv:XjX'
Name*                                         Stuart Silberberg, Manager


                                        NESV TENNIS, LLC, aDelaware limited
                                        liability company




                                          ''Stfrart Silberberg, Manager

                                        NESV LAND, LLC, aDelaware limited liability
                                        company




            1^4., tWj*                        Stuart Silberberg, Manager     J

WITNESS:                                AJAX:

                                        AJAX 5CAP NESV, LLC, a
                                        Delaware limited liability company




                                                          .X,X/,XXX
Nat*/       <14U                         s Stuart Silberberg, Manager

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                  PARTIAL WAIVER AND SUBORDINATION OF LIEN
                                     Mass. G. L. c. 254, Section 32



  COMMONWEALTH OF MASSACHUSETTS                                                 Datel2/22/2016


    Bristol     COUNTY                                           Application for Payment No.: 8R

  OWNER:                             NESV Ice, LLC
  CONTRACTOR:                        Construction Source Management
  LENDER/MORTGAGEE:

      1.   Original Contract Amount:              $   13,707,855.00
      2.   Approved Change Orders:                $   - 2,638,369.00
      3.   Adjusted Contract Amount:              $   11,069,486.00
              (line 1 plus line 2)
      4.   Completed to Date:                    $    10,720,526.00
      5.   Less Retainage:                       $       376,505.00
      6.   Total Payable to Date:                $    10,344.021.00
              (line 4 less line 5)
      7.   Less Previous Payments:               $    9,766,129.95
      8.   Current Amount Due:                   $      577,891.05
           (line 6 less line 7)
      9.   Pending Change Orders:                $    3,509,139.00
      10. Disputed Claims:                       $      206,944.00




  The undersigned who has a contract with NESV Ice LLC for furnishing labor or materials or


  both labor and materials or rental equipment, appliances or tools for the erection, alteration,


  repair or removal of a building or structure or other improvement of real property known and


  identified as Rink-1395A Commerce Way located in Attleboro, MA (city or town), Bristol

  County, Commonwealth of Massachusetts and owned by NESV Ice, LLC , upon receipt of
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   Five Hundred Seventy Seven Thousand, Eight Hundred Ninety One and 05/100


   ($577,891.05) in payment of an invoice/requisition/application for payment dated 1 1/30/2016


   does hereby:


   (a)    waive any and all liens and right of lien on such real property for labor or materials, or

          both labor and materials, or rental equipment, appliances or tools, performed or furnished

         through the following date: 1 1/30/20 1 6 (payment period), except for retainage, unpaid


         agreed or pending change orders, and disputed claims as stated above; and


  (b)    subordinate any and all liens and right of lien to secure payment for such unpaid, agreed


         or pending change orders and disputed claims, and such further labor or materials, or both

         labor and materials, or rental equipment, appliances or tools, except for retainage,

         performed or furnished at any time through the twenty-fifth (25th) day after the end of the

         above payment period, to the extent of the amount actually advanced by the above

         lender/mortgagee through such twenty-fifth (25th) day.

                      [END OF TEXT; SIGNATURE PAGE(S) TO FOLLOW]




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              Signed under the penalties of perjury this            day of                                            , 2016.




                                                   By:          4   /V  4
                                                         Name:/f< fab C. Kelly                          I                    }
                                                         Title: Ms naging Member




                             COMMONWEALTH OF MASSACHUSETTS

  Plymouth , ss

         On this 22th day of December 2016, before me, the undersigned notary public, personally
  appeared John C. Kelly, proved to me through satisfactory evidence of identification, which was
  personally known, to be the person whose name is signed on the foregoing document, and
  acknowledged to me that he (he/she) signed it voluntarily for its stated purpose, as Managing
  Member of Construction Source, LLC, as the voluntary act of Construction Source Management,
  LLC




                                                               kWk                                             1 p-
                                                           Notary Public                            ”
                                                           My Commission Expires: June 27, 2019
                                                           Print Name: Lisa Anne Lizotte



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                                   UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF MASSACHUSETTS
                                           (EASTERN DIVISION)

 In re:
                                                             Chapter 11
 NESV ICE, LLC, et al.,                                      Case No. 21-11226-CJP
                       Debtors.                              (Jointly Administered)


                                            CERTIFICATE OF SERVICE

        I hereby certify that, on June 24, 2022, the foregoing document, Objection of
Construction Source Management, LLC to Confirmation of Second Amended Joint Plan of
Reorganization of NESV Ice, LLC, NESV Swim, LLC, NESV Tennis, LLC, NESV Land East,
LLC, NESV Field, LLC, NESV Hotel, LLC, NESV Land, LLC, Ashcroft Sullivan Sports
Village Lender, LLC, and Shubh Patel, LLC, was filed with the United States Bankruptcy Court
– District of Massachusetts and served upon all parties entitled to receive notice of filings in the
above-captioned proceeding via the Bankruptcy Court’s Electronic Case Filing (ECF) system,
including the following:

     •    John Fitzgerald (U.S. Trustee), USTPRegion01.BO.ECF@USDOJ.GOV

     •    Paula R.C. Bachtell, Esq. (Counsel for U.S. Trustee), paula.bachtell@usdoj.gov

     •    Joseph M. Downes III, Esq. (Counsel for Debtors), jdownes@dmlawllp.com

     •    William S. McMahon, Esq. (Counsel for Debtors), wmcmahon@dmlawllp.com

     •    D. Ethan Jeffery, Esq. (Counsel for Shubh Patel, LLC), ejeffery@murphyking.com

     •    Gary M. Hogan, Esq. (Counsel for Ashcroft Sullivan Sports Village Lender, LLC),
          garyh@bbb-lawfirm.com

     •    Thomas H. Curran, Esq. (Counsel for SHS ACK, LLC), tcurran@curranantonelli.com

     •    Christopher Marks, Esq. (Counsel for SHS ACK, LLC), cmarks@curranantonelli.com


                                            [SIGNATURE PAGE FOLLOWS]




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                                                     By:      /s/ Kate P. Foley
                                                            Paul W. Carey, BBO #566865
                                                            Kate P. Foley, BBO #682548
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                                                            Email: kfoley@mirickoconnell.com
Dated: June 24, 2022




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